              Case 4:13-cr-00007-JRH-CLR Document 917 Filed 12/13/19 Page 1 of 1
 I'ROB 35                Report and Order Terminating Probation/Super\'ised Release
(Rev. 6/17)                             Prior to Original Expiration Date                  U.S.DtSTRicfcCKitU
                                                                                              SAVAHHAH DIV.

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                                        United States District Court
                                                    FOR THE
                                    SOUTHERN DISTRICT OF GEORGIA                        CLERK
                                                                                              SMm.OF GA.
                                            SAVANNAH DIVISION




              UNITED STATES OF AMERICA


                            V.                                 Crim.No.     4:I3CR00007-9


                 Chad Fitzgerald McCoy


        On October 18, 2016, the above named was placed on supervised release for a period of five years. He
has complied with the rules and regulations of supervised release and is no longer in need of supervision. It is
accordingly recommended that Chad Fitzgerald McCoy be discharged from supervision.

                                                            Respectfully submitted,



                                                            Ervin G. Fi4zier, II
                                                             U.S. Probation Officer



                                          ORDER OF THE COURT


       Pursuant to the above report, it is ordered that the defendant is discharged from supervision and that the
proceedings in the case be terminated.

        Dated this                day of December, 2019.



                                                           William T. Moore, Jr.
                                                           Judge, U.S. District Court
